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                                                                                                 FILED
                                                                                            IN OPEN COURT




                      IN THE UNITED STATES DISTRICT COURT FOR THI:                          JAN 2 0 2022
                                EASTERN DISTRICT OF VIRGINIA
                                                                                      CLERK, U.S. DISTRICT COURT
                                           Norfolk Division                                  NORFOLK. VA



    UNITED STATES OF AMERICA


           V.                                             No.2:19-cr-47


    THOMAS L. BARNETT,

           Defendant.



                                        PLEA AGREEMENT


          Jessica D. Aber, United States Attorney for the Eastern District of Virginia; undersigned

   counsel for the United States; the defendant, Thomas L. Bamett; and the defendant's counsel

   have entered into an agreement pursuant to Rule 11 ofthe Federal Rules of Criminal Procedure.

   The terms of this Plea Agreement are as follows:

          1.     Offense and Maximum Penalties


          The defendant agrees to waive indictment and plead guilty to a single count Criminal

  Information, charging the defendant with Conspiracy to Commit Wire Fraud, in violation of 18

   U.S.C. § 371. The maximum penalties for this offense are: a maximum term of 5 years of

  imprisonment, a fine of the greater of $250,000 or twice the gross gain or loss, full restitution,

  forfeiture of assets as outlined below, a special assessment pursuant to 18 U.S.C § 3013, and a

   maximum supervised release term of 3 years. The defendant understands that any supervised

  release term is in addition to any prison term the defendant may receive, and that a violation of a

  term of supervised release could result in the defendant being returned to prison for the full term

  of supervised release.
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          2.      Factual Basis for the Plea


          The defendant will plead guilty because the defendant is in fact guilty of the charged

   offense. The defendant admits the facts set forth in the Statement of Facts filed with this Plea


   Agreement and agrees that those facts establish guilt of the offense charged beyond a reasonable

   doubt. The Statement of Facts, which is hereby incorporated into this Plea Agreement,

   constitutes a stipulation offacts for purposes of Section IB 1.2(c) ofthe Sentencing Guidelines.

          3.      Assistance and Advice of Counsel


          The defendant is satisfied that the defendant's attorney has rendered effective assistance.

  The defendant understands that by entering into this Plea Agreement, defendant surrenders

  certain rights as provided in this agreement. The defendant understands that the rights of

  criminal defendants include the following:

                  a.     the right to plead not guilty and to persist in that plea;

                  b.     the right to a jury trial;

                  c.     the right to be represented by counsel—and, if necessary, have the court
                         appoint counsel—at trial and at every other stage of the proceedings; and

                  d.     the right at trial to confront and cross-examine adverse witnesses, to be
                         protected from compelled self-incrimination, to testify and present
                         evidence, and to compel the attendance of witnesses.

          4.      Sentencing Guidelines, Recommendations, and Roles

          The defendant understands that the Court has jurisdiction and authority to impose any

  sentence within the statutory maximum described above, but that the Court will determine the

  defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

  that the Court has not yet determined a sentence and that any estimate of the advisory sentencing

  range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

  may have received from the defendant's counsel, the United States, or the Probation Office, is a
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  prediction, not a promise, and is not binding on the United States, the Probation Office, or the

  Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker, 543

  U.S. 220(2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

  impose a sentence above or below the advisory sentencing range, subject only to review by

  higher courts for reasonableness. The United States makes no promise or representation

  concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

  plea based upon the actual sentence.

         The United States and defendant have not agreed on any further sentencing issues,

  whether related to the Sentencing Guidelines or the factors listed in 18 U.S.C. § 3553(a), other

  than those set forth above or elsewhere in this Flea Agreement. Accordingly, any such

  determinations will be made by the Court at sentencing.

         5.      Waiver of Appeal,FOIA,and Privacy Act Rights

         The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

  appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

  the conviction and any sentence within the statutory maximum described above (or the manner in

  which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

  ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

  direct appeal, in exchange for the concessions made by the United States in this Plea Agreement.

  This agreement does not affect the rights or obligations of the United States as set forth in 18

  U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a

  representative, to request or receive from any department or agency of the United States any

  records pertaining to the investigation or prosecution of this case, including without limitation
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   any records that may be sought under the Freedom ofInformation Act, 5 U.S.C. § 552, or the

   Privacy Act, 5 U.S.C. § 552a.

          6.      Immunity from Further Prosecution in This District

          The United States will not further criminally prosecute the defendant in the Eastem

   District of Virginia for the specific conduct described in the Information or Statement of Facts.

   This Plea Agreement and Statement of Facts does not confer on the defendant any immunity

  from prosecution by any state government in the United States.

          7.      Dismissal of Other Counts


          As a condition of the execution of this agreement and the Court's acceptance ofthe

  defendant's plea of guilty, the United States will move to dismiss the remaining counts pending

  against this defendant at the conclusion ofthis defendant's sentencing hearing.

          8.      Defendant's Cooperation

          The defendant agrees to cooperate fully and truthfully with the United States, and provide

  all information known to the defendant regarding any criminal activity as requested by the

  government. In that regard:

                  a.     The defendant agrees to testify truthfully and completely at any grand
                         juries, trials or other proceedings.

                  b.     The defendant agrees to be reasonably available for debriefing and pre-
                         trial conferences as the United States may require.

                  c.     The defendant agrees to provide all documents, records, writings, or
                         materials of any kind in the defendant's possession or under the
                         defendant's care, custody, or control relating directly or indirectly to all
                         areas of inquiry and investigation.

                  d.     The defendant agrees that, at the request of the United States, the
                         defendant will voluntarily submit to polygraph examinations, and that the
                         United States will choose the polygraph examiner and specify the
                         procedures for the examinations.
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                 e.      The defendant agrees that the Statement of Facts is limited to information
                         to support the plea. The defendant will provide more detailed facts
                         relating to this case during ensuing debriefings.

                 f.      The defendant is hereby on notice that the defendant may not violate any
                         federal, state, or local criminal law while cooperating with the
                         government, and that the govemment will, in its discretion, consider any
                         such violation in evaluating whether to file a motion for a downward
                         departure or reduction of sentence.

                 g.      Nothing in this agreement places any obligation on the government to seek
                         the defendant's cooperation or assistance.

         9.      Use of Information Provided by the Defendant Under This Agreement

         The United States will not use any truthful information provided pursuant to this

  agreement in any criminal prosecution against the defendant in the Eastern District of Virginia,

  except in any prosecution for a crime of violence or conspiracy to commit, or aiding and

  abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to U.S.S.G. § 1B1.8, no

  truthful information that the defendant provides under this agreement will be used in determining

  the applicable guideline range, except as provided in Section IB 1.8(b). Nothing in this

  agreement, however, restricts the Court's or Probation Officer's access to information and

  records in the possession ofthe United States. Furthermore, nothing in this agreement prevents

  the government in any way from prosecuting the defendant should the defendant knowingly

  provide false, untruthful, or perjurious information or testimony, or from using information

  provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,

  administrative or judicial. The United States will bring this agreement and the full extent ofthe

  defendant's cooperation to the attention of other prosecuting offices if requested.

         10.     Prosecution in Other Jurisdictions


         The U.S. Attorney's Office for the Eastern District of Virginia will not contact any other

  state or federal prosecuting jurisdiction and voluntarily tum over truthful information that the
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   defendant provides under this agreement to aid a prosecution of the defendant in that jurisdiction.

   Should any other prosecuting jurisdiction attempt to use truthful information the defendant

   provides pursuant to this agreement against the defendant, the U.S. Attorney's Office for the

   Eastern District of Virginia agrees, upon request, to contact that jurisdiction and ask that

  jurisdiction to abide by the immunity provisions of this agreement. The parties understand that

   the prosecuting jurisdiction retains the discretion over whether to use such information.

          11.     Defendant Must Provide Full, Complete, and Truthful Cooperation

          This agreement is not conditioned upon charges being brought against any other

   individual. This agreement is not conditioned upon any outcome in any pending investigation.

   This agreement is not conditioned upon any result in any future prosecution that may occur

   because of the defendant's cooperation. This agreement is not conditioned upon any result in

   any future grand jury presentation or trial involving charges resulting from this investigation.

   This agreement is conditioned upon the defendant providing full, complete, and truthful

   cooperation.

          12.     Motion for a Downward Departure

          The parties agree that the United States reserves the right to seek any departure from the

  applicable sentencing guidelines, pursuant to Section 5K1.1 of the Sentencing Guidelines and

  Policy Statements, or any reduction of sentence pursuant to Rule 35(b) of the Federal Rules of

   Criminal Procedure, if, in its sole discretion, the United States determines that such a departure

  or reduction of sentence is appropriate. In addition, the defendant understands that the Court—

  not the United States—^will decide what, if any, reduction in sentence is appropriate.

          Furthermore, the proceeding established by the Plea Agreement section titled Breach of

  the Plea Agreement and Remedies does not apply to the decision of the United States whether to
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   file a motion based on "substantial assistance" as that phrase is used in Rule 35(b) ofthe Federal

   Rules of Criminal Procedure and Section 5K1.1 ofthe Sentencing Guidelines and Policy

   Statements. As noted above, the defendant agrees that the decision whether to file such a motion

   rests in the sole discretion of the United States. In addition, should the defendant violate the Plea

   Agreement, as defined in Breach ofthe Plea Agreement and Remedies, or should the defendant

   violate this Cooperation Agreement, the United States will be released from its obligations under

   either agreement, including any obligation to seek a downward departure or a reduction in

   sentence. The defendant, however, may not withdraw the guilty plea entered pursuant to the Plea

   Agreement.

          13.     Payment of Monetary Penalties

          The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613 and 18 U.S.C.

  § 3572, all monetary penalties imposed by the Court, including restitution, will be due

  immediately and subject to immediate enforcement by the United States as provided for in

  Section 3613. If the Court imposes a schedule of payments, the defendant understands that the

  schedule of payments is merely a minimum schedule of payments and not the only method, nor a

  limitation on the methods, available to the United States to enforce the judgment. Until all

  monetary penalties are paid in full, the defendant will be referred to the Treasury Offset Program

  so that any federal payment or transfer of returned property to the defendant will be offset and

  applied to pay the defendant's unpaid monetary penalties. If the defendant is incarcerated, the

  defendant agrees to participate voluntarily in the Bureau of Prisons' Inmate Financial

  Responsibility Program, regardless of whether the Court specifically directs participation or

  imposes a schedule of payments. Defendant agrees to make good-faith efforts toward payment

  of all monetary penalties imposed by the Court.
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          14.       Special Assessment

          Before sentencing in this case, the defendant agrees to pay a mandatory special

   assessment of$100 per felony count of conviction, pursuant to 18 U.S.C. § 3013(a)(2)(A).

          15.       Restitution


          The defendant agrees that restitution is mandatory pursuant to 18 U.S.C. § 3663A(c)(l),

   and the defendant agrees to the entry of a Restitution Order for the full amount ofthe victims'

   losses as determined by the Court. Pursuant to 18 U.S.C. § 3663A(c)(2), the defendant further

  agrees that an offense listed in Section 3663A(c)(l) gave rise to this Plea Agreement and, as

  such, victims ofthe conduct described in the charging instrument. Statement of Facts, or any

  related or similar conduct shall be entitled to restitution.


          The defendant understands that forfeiture and restitution are separate and distinct

  financial obligations that must be imposed upon a criminal defendant. The defendant further

  understands that restitution will be enforced pursuant to 18 U.S.C. § 3572, 18 U.S.C. § 3613, and

   18 U.S.C. § 3664(m).

          16.       Forfeiture Agreement

          The defendant understands that the forfeiture of assets is part of the sentence that must be

  imposed in this case. The defendant agrees to forfeit all interests in any fraud-related asset that

  the defendant owns or over which the defendant exercises control, directly or indirectly. This

  includes any property that is traceable to, derived from, fungible with, or a substitute for the

  following: property that constitutes the proceeds of the offense and property used in or involved

  in the offense.


          The defendant understands that if the assets subject to forfeiture are not available to the

  United States to be forfeited, the Court must enter a forfeiture money judgment in the amount of
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  the unavailable assets. United States v. Blackman, 746 F.3d 137(4th Cir. 2014). The defendant

  acknowledges that as a result of defendant's acts or omissions,the actual proceeds the defendant

  obtained as a result ofthe offense are not available and the defendant stipulates that one or more

  ofthe factors listed at 21 U.S.C. § 853(p)(l) are present in this case.

          The defendant further agrees to waive all interest in the asset(s) in any administrative or

  judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to

  consent to the entry of orders offorfeiture for such property and waives the requirements of

  Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice ofthe forfeiture in the

  charging instrument, announcement of the forfeiture at sentencing, and incorporation of the

  forfeiture in the judgment. Defendant admits and agrees that the conduct described in the

  charging instrument and Statement of Facts provides a sufficient factual and statutory basis for

  the forfeiture ofthe property sought by the government.

          17.     Waiver of Further Review of Forfeiture


          The defendant further agrees to waive all constitutional and statutory challenges to

  forfeiture in any manner (including direct appeal, habeas corpus, or any other means)to any

  forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the

  forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

  the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is

  accepted as required by Rule ll(b)(l)(J). The defendant agrees to take all steps as requested by

  the United States to pass clear title to forfeitable assets to the United States, and to testify

  truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all

  property covered by this agreement is subject to forfeiture as proceeds of illegal conduct property

  used or involved in the offense, and substitute assets for property otherwise subject to forfeiture.
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           18.     The Defendant's Obligations Regarding Assets and Financial Investigation

           The defendant agrees to fully participate in the United States' pre- and post-judgment

   financial investigation. Such participation includes the identification of assets in which the

   defendant has any legal or equitable interest to determine what assets may be available for

   payment to restitution, forfeiture, and/or any fine imposed in this case. The defendant agrees that

   the defendant's financial information is subject to investigation and disclosure pre-judgment to

   the same extent as financial information will be subject to discovery after judgment is imposed.

   The defendant understands that 31 U.S.C. § 3711(h)(1) permits the United States to obtain the

   defendant's credit report after sentencing and expressly authorizes the United States to obtain the

   defendant's credit report prior to sentencing in this case. The defendant understands that the

   United States has sole discretion over whether it will obtain defendant's credit report pursuant to

   this Plea Agreement. If the United States determines that it will obtain defendant's credit report

   prior to sentencing pursuant to this Plea Agreement, the defendant authorizes the United States,

   and the United States agrees, to provide a copy to defense counsel upon request. The defendant

   understands that failure to participate in the financial investigation as described in this paragraph

   may constitute the defendant's failure to accept responsibility under U.S.S.G § 3E1.1.

           Within 14 days of a request by the United States, or other deadline agreed upon by the

   parties, the defendant agrees to provide all information about all of the defendant's assets and

   financial interests to the United States and the Probation Office and, if requested, submit to a

   debtor's examination, complete a financial disclosure statement under penalty of perjury, and/or

   undergo any polygraph examination the United States may choose to administer concerning such

   assets and financial interests. The defendant also agrees to provide or consent to the release of

   the defendant's tax returns for the previous five years. The defendant understands that assets and




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   financial interests subject to disclosure include assets owned or held directly or indirectly,

   individually or jointly, in which the defendant has any legal interests, regardless of title,

   including any interest held or owned under any other name, trusts, and/or business entities

   presently and since date of the first offense giving rise to this Plea Agreement, or giving rise to

   the charges presently pending against the defendant, whichever is earlier.

           The defendant shall identify all assets valued at more than $5,000 that have been

   transferred to third parties since the date of the first offense giving rise to this Plea Agreement,

   including the loeation of the assets and the identities of third parties to whom they were

   transferred. The defendant agrees not to transfer any assets valued at more than $5,000 without

   approval ofthe Asset Recovery Unit ofthe U.S. Attorney's Office until the fine, forfeiture, and

   restitution ordered by the Court at sentencing are paid in full or otherwise terminated by

   operation of law. The defendant agrees to take all steps requested by the United States to obtain

   from any other parties by any lawful means any records of assets contemplated by this paragraph

   in which the defendant has or had an interest. Until the fine, forfeiture, and restitution ordered

   by the Court are paid in full or otherwise terminated by operation of law, the defendant agrees to

   notify the Asset Recovery Unit ofthe U.S. Attorney's Office of a change in address within 30

   days of such change.

          The United States will not use any truthful and complete information provided by the

   defendant pursuant to this paragraph for additional criminal offenses against the defendant in the

   Eastern District of Virginia, except in any prosecution for a crime of violence or conspiracy to

   commit, or aiding and abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to

   U.S.S.G. § 1B1.8, no truthful information that the defendant provides pursuant to defendant's

   obligations under this paragraph will be used in determining the applicable guideline range.




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   except as provided in Section IB 1.8(b). Nothing in this agreement, however, restricts the

   Court's or Probation Officer's access to information and records in the possession of the United

   States. Furthermore, nothing in this agreement prevents the United States in any way from

   prosecuting the defendant should the defendant knowingly provide false, untruthful, or

   perjurious information or testimony, or from using information provided by the defendant in

   furtherance of any forfeiture action or restitution enforcement action, whether criminal or civil,

   administrative or judicial.

           19.    Breach of the Plea Agreement and Remedies

           This Plea Agreement is effective when signed by the defendant, the defendant's attorney,

   and an attorney for the United States. The defendant agrees to entry of this Plea Agreement at

   the date and time scheduled with the Court by the United States (in consultation with the

   defendant's attorney). If the defendant withdraws from this agreement, or commits or attempts

   to commit any additional federal, state, or local crimes, or intentionally gives materially false,

   incomplete, or misleading testimony or information, or otherwise violates any provision of this

   agreement, then;

                  a.      The United States will be released from its obligations under this
                          agreement. The defendant, however, may not withdraw the guilty plea
                          entered pursuant to this agreement.

                  b.      The defendant will be subject to prosecution for any federal criminal
                          violation, including, but not limited to, perjury and obstruction ofjustice,
                          that is not time-barred by the applicable statute of limitations on the date
                          this agreement is signed. Notwithstanding the subsequent expiration of
                          the statute of limitations, in any such prosecution, the defendant agrees to
                          waive any statute-of-limitations defense.

                  c.      Any prosecution, including the prosecution that is the subject of this
                          agreement, may be premised upon any information provided, or
                          statements made, by the defendant, and all such information, statements,
                          and leads derived therefrom may be used against the defendant. The
                          defendant waives any right to claim that statements made before or after
                          the date of this agreement, including the Statement of Facts accompanying


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                            this agreement or adopted by the defendant and any other statements made
                            pursuant to this or any other agreement with the United States, should be
                            excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),
                            the Sentencing Guidelines, or any other provision of the Constitution or
                            federal law.

           Any alleged breach of this agreement by either party shall be determined by the Court in

   an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

   be admissible and at which the moving party shall be required to establish a breach of this Plea

   Agreement by a preponderance ofthe evidence.

          20.     Nature of the Agreement and Modifications

           This written agreement constitutes the complete plea agreement between the United

   States, the defendant, and the defendant's counsel. The defendant and the defendant's attorney

   acknowledge that no threats, promises, or representations have been made, nor agreements

   reached, other than those set forth in writing in this Plea Agreement or any associated documents

   filed with the Court, to cause the defendant to plead guilty. Any modification of this Plea

   Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement

   signed by all parties.


                                               Jessica D. Aber
                                               United States Attorney



                                               Melissg^rr-tJ'Bdxle
                                               AssistanTUmtea^S^ates Attomey




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          Defendant's Signature: I hereby agree that I have consulted with my attorney and fully
   understand all rights with respect to the pending criminal Information. Further, I fully
   understand all rights with respect to 18 U.S.C. § 3553 and the provisions of the Sentencing
   Guidelines Manual that may apply in my case. I have read this Plea Agreement and carefully
   reviewed every part of it with my attomey. I understand this agreement and voluntarily agree to
   it.




    Date:
                                                Thomas L.


           Defense Counsel's Signature: I am counsel for the defendant in this case. I have fully
   explained to the defendant the defendant's rights with respect to the pending Information.
   Further, I have reviewed IS U.S.C. § 3553 and the Sentencing Guidelines Manual, and I have
   fully explained to the defendant the provisions that may apply in this case. 1 have carefully
   reviewed every part of this Plea Agreement with the defendant. To my knowledge, the
   defendant's decision to enter into this agreement is an informed and voluntary one.


    Date:   1/ '2-0
                                                Anthony G^ ii itous
                                                Counsel for he Defendant




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                                     U. S. DEPARTMENT OF JUSTICE
                                  Statement of Special Assessment Account

   This statement reflects your Special Assessment only. There may be other penalties imposed at
   sentencing.


                                        ACCOUNT INFORMATION


CRIM. ACTION NO.:                     2:I9-cr-47

DEFENDANT'S NAME:                     Thomas L. Bamett

PAY THIS AMOUNT:                      $100.00


   INSTRUCTIONS:


   1.   MAKE CHECK OR MONEY ORDER PAYABLE TO:


                  CLERK, U.S. DISTRICT COURT

   2. PAYMENT MUST REACH THE CLERK'S OFFICE BEFORE YOUR SENTENCING DATE.


   3. PAYMENT SHOULD BE SENT TO:



                                       In-Person(9 AM to 4 PM)            By Mail:

                                                           Clerk, U.S. District Court
    Alexandria Cases:                                       401 Courthouse Square
                                                             Alexandria, VA 22314


                                                           Clerk, U.S. District Court
    Richmond Cases:                                    701 East Broad Street, Suite 3000
                                                             Richmond, VA 23219


                                                           Clerk, U.S. District Court
    Newport News Cases:                                    2400 West Ave., Suite 100
                                                           Newport News, VA 23607


                                                           Clerk, U.S. District Court
    Norfolk Cases:                                            600 Grauby Street
                                                              Norfolk, VA 23510


   4. INCLUDE DEFENDANT'S NAME ON CHECK OR MONEY ORDER.


   5.   ENCLOSE THIS COUPON TO ENSURE PROPER AND PROMPT APPLICATION OF
        PAYMENT.
